                            EXHIBIT Q




Case 3:23-cv-00243   Document 100-16   Filed 01/09/24   Page 1 of 2 PageID #: 1142
  From:                Andy Goldstein
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  Subject:             Hunt v. Southern Baptist Convention, et al. / United States District Court for the Middle District of Tennessee /
                       Case No. 3:23-cv-00243 / Request for Discovery Conference
  Date:                Tuesday, December 19, 2023 11:33:11 AM
  Attachments:         image001.png
                       image002.png
                       image003.png
                       image004.png
                       image005.png
                       image006.png
                       image007.png


 Good morning,

 A discovery dispute has arisen in the above-referenced matter. The Plaintiff respectfully
 requests that a telephonic discovery conference be scheduled to attempt to resolve this
 discovery dispute.

 If the Court requires anything further from us, please let us know.

 Sincerely,

                                       Andy Goldstein, Esq.
                                       Managing Shareholder at Cole Law Group, PC
                                       ---------------------------------------------------------------
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Case 3:23-cv-00243               Document 100-16                   Filed 01/09/24              Page 2 of 2 PageID #: 1143
